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Fill in this information to identify your case:
Debtor 1               William Clay Clawson
                          First Name      Middle Name                 Last Name
Debtor 2
(Spouse, if filing) First Name       Middle Name                      Last Name
United States Bankruptcy Court for the:                       DISTRICT OF UTAH                                      Check if this is an amended plan, and
                                                                                                                    list below the sections of the plan that
Case number:              22-24837                                                                                  have been changed.

(If known)


Official Form 113
Chapter 13 Plan                                                                                                                                     12/17


Part 1:       Notices

To Debtor(s):           This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                        indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                        do not comply with local rules and judicial rulings may not be confirmable.

                        In the following notice to creditors, you must check each box that applies

To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                        an attorney, you may wish to consult one.

                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                        confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                        Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                        Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                        plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                        will be ineffective if set out later in the plan.

1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in            Included                  Not Included
             a partial payment or no payment at all to the secured creditor
1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,              Included                  Not Included
             set out in Section 3.4.
1.3          Nonstandard provisions, set out in Part 8.                                                       Included                  Not Included


Part 2:       Plan Payments and Length of Plan

2.1          Debtor(s) will make regular payments to the trustee as follows:

$315.00 per Month for 60 months

Insert additional lines if needed.

             If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
             payments to creditors specified in this plan.

2.2          Regular payments to the trustee will be made from future income in the following manner.

             Check all that apply:
                      Debtor(s) will make payments pursuant to a payroll deduction order.
                      Debtor(s) will make payments directly to the trustee.
                      Other (specify method of payment):

2.3 Income tax refunds.
    Check one.
                  Debtor(s) will retain any income tax refunds received during the plan term.


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                    Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                    return and will turn over to the trustee all income tax refunds received during the plan term.

                    Debtor(s) will treat income refunds as follows:
                    The following tax years are proposed to be contributed 2022, 2023, 2024. On or before April 30 of each
                    applicable year, debtors shall provide the Trustee with a copy of the first two pages of filed state and
                    federal tax returns. Any required tax refund contributions shall be paid to the Trustee no later than
                    June 30 of the year the applicable return is filed.

                    The Debtors are authorized to retain any Earned Income Credit and/or Additional Child Tax Credit as
                    they are excluded from the disposable income analysis under 1325(b)(1) as being necessary for
                    maintenance and support of the Debtors.
                    The Debtors shall contribute any refund attributable to over-withholding of income tax that exceeds
                    $1,000. However, debtors are not obligated to pay tax overpayments that have been properly offset by
                    a taxing authority. Tax refunds paid into the plan may reduce the plan term to no less than the
                    Applicable Commitment Period, but in no event shall the amount paid into the Plan be less than
                    thirty-six (36) or sixty (60) Plan Payments plus all annual tax refunds required to be paid into the plan.

                    For the first tax year contribution 2020, the Trustee will determine if the section 1325(a)(4) best interest
                    of creditors test has been satisfied and will provide to counsel for the Debtor(s) a calculation of the
                    required pot amount. If a pot to unsecured creditors is required, the Debtor(s) will have thirty (30) days
                    from receipt of such calculation to file a motion to modify the plan to provide for the required return to
                    unsecured creditors or to stipulate to an order modifying the plan, which order will be prepared by the
                    Trustee. The Debtor(s) must satisfy plan feasibility through either increased monthly plan payments or
                    the turnover of a lump sum contribution of the current tax refund. If a lump sum contribution is
                    elected, the Trustee is not required to segregate such lump sum contribution and pay it immediately to
                    unsecured creditors, but instead shall disburse such lump sum contribution in accordance with the
                    Order of Distribution set forth in Local Rule 2083-2(e). If the Debtor(s) fail to file a motion to modify,
                    the Trustee will move to dismiss the Debtor(s)’ case. The Debtor shall contribute any refund
                    attributable to overwithholding of wages that exceeds $1,000.


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

2.5       The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $18,900.00.

Part 3:   Treatment of Secured Claims

3.1       Maintenance of payments and cure of default, if any.

          Check one.
                  None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

3.2       Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

                    None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                    The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                    The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured
                    claim listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of

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                     secured claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim
                     listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each
                     listed claim, the value of the secured claim will be paid in full with interest at the rate stated below.

                     The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
                     of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
                     treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
                     creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.

                     The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
                     property interest of the debtor(s) or the estate(s) until the earlier of:

                     (a) payment of the underlying debt determined under nonbankruptcy law, or

                     (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.


Name of            Estimated       Collateral         Value of           Amount of         Amount of           Interest     Monthly        Estimated
creditor           amount of                          collateral         claims senior     secured claim       rate         payment to     total of
                   creditor's                                            to creditor's                                      creditor       monthly
                   total claim                                           claim                                                             payments
Sweetwat                           Musical
er                 $625.00         Instruments        $400.00                   $0.00             $625.00       0.00%           $12.00            $625.00

Insert additional claims as needed.

 3.3       Secured claims excluded from 11 U.S.C. § 506.

      Check one.
                     None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                     The claims listed below were either:

                     (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
                         acquired for the personal use of the debtor(s), or

                     (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

                     These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
                     the trustee or directly by the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a
                     proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In
                     the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. The final column includes only
                     payments disbursed by the trustee rather than by the debtor(s).

Name of Creditor             Collateral                     Amount of claim              Interest rate      Monthly plan     Estimated total
                                                                                                            payment          payments by trustee
                             2007 Ford Expedition
                             180000 miles
Timberline                   Paint flaking, engine
Financial                    issues                         $10,446.00                         5.00%              $232.00                   $11,592.84
                                                                                                            Disbursed by:
                                                                                                               Trustee
                                                                                                               Debtor(s)

Insert additional claims as needed.

3.4        Lien avoidance.

Check one.
                     None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5        Surrender of collateral.

           Check one.

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                    None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

Part 4:   Treatment of Fees and Priority Claims

4.1       General
          Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
          without postpetition interest.

4.2       Trustee’s fees
          Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 10.00% of plan payments; and
          during the plan term, they are estimated to total $1,890.00.

4.3       Attorney's fees.

          The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4,000.00.

4.4       Priority claims other than attorney’s fees and those treated in § 4.5.

          Check one.
                  None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
                  The debtor(s) estimate the total amount of other priority claims to be $0.00

4.5       Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

          Check one.
                  None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



Part 5:   Treatment of Nonpriority Unsecured Claims

5.1       Nonpriority unsecured claims not separately classified.

          Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
          providing the largest payment will be effective. Check all that apply.

            The sum of $       .
                 % of the total amount of these claims, an estimated payment of $     .
            The funds remaining after disbursements have been made to all other creditors provided for in this plan.



            If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $ 0.00           .
            Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2       Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                    None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3       Other separately classified nonpriority unsecured claims. Check one.

                    None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

Part 6:   Executory Contracts and Unexpired Leases

6.1       The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
          contracts and unexpired leases are rejected. Check one.

                    None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



Part 7:   Vesting of Property of the Estate

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7.1        Property of the estate will vest in the debtor(s) upon
      Check the appliable box:
            plan confirmation.
            entry of discharge.
            other:

Part 8:     Nonstandard Plan Provisions

8.1        Check "None" or List Nonstandard Plan Provisions

                   None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

           a. Applicable Commitment Period                                Pursuant to §1325(b)(4), as calculated under Part II of Form
                                                                          122C, the Applicable Commitment Period for this case is 60
                                                                          Months.
           b. Direct Payment of Claims
                                                                          Direct Payments By Debtors On Claims Secured by Personal
                                                                          Property: The Debtors will directly make payments to the
                                                                          creditors listed below pursuant to the following conditions: (1) the
                                                                          Debtors will pay the claim without any modifications to the terms
                                                                          of the contract; (2) upon entry of the confirmation order, the
                                                                          automatic stay of § 362 and the co-debtor stay of § 1301 are
                                                                          terminated as to such collateral and claims; (3) the claim will not
                                                                          be discharged; and (4) neither the court nor the Trustee will
                                                                          monitor the Debtors’ performance on direct payments to such
                                                                          creditor.

                                                                           Creditor                    Collateral
                                                                           NONE
           c. Adequate Protection Payments                                Debtor(s) proposes that certain pre-confirmation payments under
                                                                          11 U.S.C. § 1326(a)(1) be made pursuant to Attachment 1
                                                                          included herein. Specifically, adequate protection shall be paid on
                                                                          secured claims held by SWEETWATER included in section 3.2
                                                                          of the plan and TIMBERLINE FINANCIAL included in section
                                                                           3.3 of the plan.
           d. Local Rules Incorporated                                    The Local Rules of Practice of the United States Bankruptcy
                                                                          Court for the District of Utah are incorporated by reference in the
                                                                          Plan.
                                                                          Debtor(s) attorney prays for an award of attorney fees in the
           e. Attorney fees                                               amount of the presumptive fee for this case as per published
                                                                          chamber procedures which is $4,000.00, with counsel having
                                                                          received a retainer of $187.00.

Part 9:     Signature(s):

9.1        Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. The attorney for Debtor(s),
if any, must sign below.
 X /s/ William Clay Clawson                                             X
       William Clay Clawson                                                  Signature of Debtor 2
       Signature of Debtor 1

       Executed on     December 23, 2022                                       Executed on

X      /s/ Steven M. Rogers                                             Date     December 23, 2022
       Steven M. Rogers
       Signature of Attorney for Debtor(s)

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Debtor          William Clay Clawson                                                  Case number       22-24837


By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.




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Exhibit: Total Amount of Estimated Trustee Payments
The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
out below and the actual plan terms, the plan terms control.

a.   Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                                                   $0.00

b.   Modified secured claims (Part 3, Section 3.2 total)                                                                                        $625.00

c.   Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                                             $11,592.84

d.   Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                                            $0.00

e.   Fees and priority claims (Part 4 total)                                                                                                  $5,890.00

f.   Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                                                  $792.16

g.   Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                                 $0.00

h.   Separately classified unsecured claims (Part 5, Section 5.3 total)                                                                            $0.00

i.   Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                                      $0.00

j.   Nonstandard payments (Part 8, total)                                                                   +                                      $0.00


Total of lines a through j                                                                                                                $18,900.00

                                                               ATTACHMENT 1


                                           UNITED STATES BANKRUPTCY COURT
                                               FOR THE DISTRICT OF UTAH

                                                                         Case No.
              In Re:
                                                                         Chapter 13
                                       Debtor(s).
                                                        Hon.
                                 NOTICE OF ADEQUATE PROTECTION PAYMENTS
                                            UNDER 11 U.S.C. § 1326(a)
                                        AND OPPORTUNITY TO OBJECT

          The Debtor(s) states as follows:

     1. Concurrent with this notice the Debtor(s) filed a Chapter 13 petition for relief.

     2. The Debtor proposes to make Adequate Protection Payments, pursuant to § 1326(a)(1)(C) accruing with the initial

          plan payment which is due no later than the originally scheduled meeting of creditors under § 341 and continuing

          to accrue on the first day of each month thereafter, to the holders of the allowed secured claims in the amounts

          specified below:


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Debtor         William Clay Clawson                                           Case number   22-24837

              Secured Creditor             Description of      Monthly Adequate         Number of Months       Plan
                                            Collateral         Protection Payment        to Pay Adequate     Provision
                                                                    Amount                  Protection
         Sweetwater                   Musical Instruments                       0                        0           3.2
         Timberline Financial         2007 Ford Expedition                     75                      10            3.3


    3. The monthly plan payments proposed by the Debtor(s) shall include the amount necessary to pay all Adequate

         Protection Payments and the amount necessary to pay the Trustee’s statutory fee.

    4. Upon completion of the Adequate Protection Payment period designated herein for each listed secured creditor,

         the Equal Monthly Plan Payment identified in each Part of the Plan shall be the monthly payment and shall accrue

         on the first day of each month.

    5. This Notice shall govern Adequate Protection Payments to each listed secured creditor unless subsequent Notice

         is filed by Debtor or otherwise ordered by the Court.

    6. Objections, if any, to the proposed Adequate Protection Payments shall be filed as objections to confirmation of

         the Plan. Objections must be filed and served no later than 7 days before the date set for the hearing on

         confirmation of the Plan



Dated: 12/23/2022                                           /s/
                                                            Steven M. Rogers
                                                            Attorney for Debtors




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